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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  NORTHERN DIVISION


JENNY YOUNG                                                                               PLAINTIFF

v.                                  Case No. 3:20-cv-00226 JTK

ANDREW SAUL, Commissioner,
Social Security Administration                                                         DEFENDANT


                                              ORDER

       Plaintiff’s Counsel filed the instant complaint against Defendant on August 7, 2020. As of

the date of this Order, there is no indication that Plaintiff has perfected service pursuant to Rule 4

of the Federal Rules of Civil Procedure. Therefore, within thirty (30) days, Plaintiff must provide

proof of service or show good cause for an extension of time to serve the Defendant. If Plaintiff fails

to comply, the undersigned will dismiss this action without prejudice for failure to effectuate proper

service and failure to prosecute.

       SO ORDERED THIS 6th day of November, 2020.



                                                        ___________________________________
                                                        UNITED STATES MAGISTRATE JUDGE
